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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION

 UNITED STATES OF AMERICA,                          §
                                                    §
                                      Plaintiff,    §
                                                    §    Criminal No. 2:19-CR-00095-Z-BR
 VS.                                                §
                                                    §
 PAMELA SUE SIMS (2)                                §
                                                    §
                                                    §
                                    Defendant.      §

               ORDER ADOPTING REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY

       On July 18, 2019, the United States Magistrate Judge issued a Report and Recommendation

Concerning Plea of Guilty (“Report and Recommendation”) in the above referenced cause.

Defendant Pamela Sue Sims (2) filed no objections to the Report and Recommendation within the

fourteen-day period set forth in 28 U.S.C. § 636(b)(1). The Court independently examined all

relevant matters of record in the above referenced cause—including the elements of the offense,

Factual Resume, and Plea Agreement—and thereby determined that the Report and

Recommendation is correct. Therefore, the Report and Recommendation is hereby ADOPTED by

the United States District Court. Accordingly, the Court hereby (1) FINDS that the guilty plea of

Defendant Pamela Sue Sims (2) was knowingly and voluntarily entered; (2) ACCEPTS the guilty

plea of Defendant Pamela Sue Sims (2); and (3) ADJUDGES Defendant Pamela Sue Sims (2)

guilty of Count One in violation of 18 U.S.C. § 1955. Sentence will be imposed in accordance

with the Court’s sentencing scheduling order.


       SO ORDERED, 7th day of August, 2019.

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                                                     MATTHEW J. KACSMARYK
                                                     UNITED STATES DISTRICT JUDGE
